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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                   4:16CR3081
      vs.
                                                                      ORDER
ISAIAH D. BROWN, AND KENTRELL J.
REED,
                     Defendants.


      Defendant Isiah D. Brown has moved to continue the trial currently set for
October 24, 2016. (Filing No. 29). As explained in the motion, defense counsel is not
available during the current trial setting. The motion to continue is unopposed. Based on
the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendant Brown’s motion to continue, (filing no. 29), is granted.

      2)       As to both defendants, the trial of this case is set to commence before the
               Honorable John M. Gerrard, United States District Judge, in Courtroom 1,
               United States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on December
               27, 2016, or as soon thereafter as the case may be called, for a duration of
               four (4) trial days. Jury selection will be held at commencement of trial.

      3)       Based upon the showing set forth in the defendant’s motion and the
               representations of counsel, the Court further finds that the ends of justice
               will be served by continuing the trial; and that the purposes served by
               continuing the trial date in this case outweigh the interest of the defendant
               and the public in a speedy trial. Accordingly,

               a.     As to both defendants, the additional time arising as a result of the
                      granting of the motion, the time between today’s date and December
                      27, 2016, shall be deemed excludable time in any computation of
                      time under the requirements of the Speedy Trial Act, because
                      although counsel have been duly diligent, additional time is needed to
                      adequately prepare this case for trial and failing to grant additional time
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                might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
                (h)(7).

          b.    Failing to timely file an objection to this order as provided in the
                local rules of this court will be deemed a waiver of any right to later
                claim the time should not have been excluded under the Speedy Trial
                Act.


          October 17, 2016.
                                             BY THE COURT:
                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge




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